                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION

In re:   In re: SARAI SERVICES GROUP, INC. 1 )
                                                           )        Case No.: 18-82948-CRJ-11
                                                           )
                                                           )
                 Debtor.                                   )        CHAPTER 11
                                                           )


                        ORDER APPROVING ADEQUATE PROTECTION TO
                      SECURED CREDITOR NATIONAL BANK OF COMMERCE


         This matter came before the Court upon the motion of Sarai Services Group, Inc, SSGWWJV
LLC, Sarai Investment Corporation, and CM Holding, Inc. (collectively, the “Debtor”), seeking an order
of this Court establishing adequate protection for secured creditor National Bank of Commerce, or its
successors-in-interest (the “Bank”). After proper notice, a hearing was held on September 18, 2019, with
appearances by Tazewell T. Shepard IV on behalf of the Debtor-in-Possession, James Haithcock on
behalf of the Bank, and Richard M. Blythe on behalf of the Bankruptcy Administrator.

         Upon consideration by the Court it is hereby

         ORDERED, ADJUDGED and DECREED that, pursuant to 11 U.S.C. § 361, the Debtor shall
make payments of $5,000.00 per month to the Bank as sufficient adequate protection to protect this
creditor’s interest in the Debtor’s collateral for the period through October 23, 2019, such payments to be
applied in the sole discretion of the Bank to the loan of the Debtor, CM Holdings, Inc. This Order shall
be without prejudice to the Bank’s right to seek relief from the automatic stay, or any other relief before
this Court, during the period in which this Order shall be effective, or thereafter.

Dated this the 19th day of September, 2019.
                                                           /s/ Clifton R. Jessup, Jr.
                                                           Clifton R. Jessup, Jr.
                                                           United States Bankruptcy Judge


Prepared by:                                                        Approved by:
Tazewell T. Shepard                                                 James Haithcock
Attorney for Debtor                                                 Attorney for the Bank



1
        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.




Case 18-82948-CRJ11             Doc 324 Filed 09/19/19 Entered 09/19/19 15:29:56                    Desc
                                  Main Document     Page 1 of 1
